UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

IVAN LAGUNA, and
MARGARITA LOPEZ
Plaintiffs
Vv. C.A. No. 3:23-CV-30016

LAZER SAFE, PTY, LTD,
FIESSLER ELECTRONIK GmbH & CO., KG.,

ERMAK USA, INC.,
ERMAKSAN TURKEY, aka

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ERMAKSAN MAKINA SANAYI VE TICARET A.S., and)
JOHN DOE DISTRIBUTOR )
Defendants )

)

SECOND AMENDED COMPLAINT WITH JURY CLAIM

Parties
1. The Plaintiff, Ivan Laguna is an individual who resides at 173 Elm Street, West
Springfield, Hampden County, Massachusetts.
2. The Plaintiff, Margarita Lopez, is married to the Plaintiff Ivan Laguna, and she resides at
78 Lincoln Street, West Springfield, Hampden County, Massachusetts.

Lazer Safe, PTY, LTD (“Lazer”), is a foreign corporation, with its principal place of

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business and manufacturing facility at 27 Action Road, Malaga WA 6090, Australia.
4, Fiessler Electronik GmbH & Co., KG (“Fiessler’”’) is a foreign corporation, with its
principal place of business and manufacturing facility at Buchenteich 14, D-73773,

Aichwald, Germany.

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Defendant Ermak USA, Inc. (“Ermak USA”) is an Illinois corporation with its principal
place of business at 2860 River Road, Suite 145. Des Plaines, Cook County, Illinois.
Defendant Ermaksan Turkey (““ERMAKSAN?”), also known to operate under the brand
name, “ERMAKSAN”, also known as “ERMAKSAN MAKINA SANAYI VE TICARET
A.S.,” is a Turkish corporation with its principal place of business and manufacturing
facility at, Organize Sanayi Bolgesi, Lacivert Cad. No: 6 16065, Nilufer, Bursa, Turkey.
Defendant John Doe Distributor (“JDD”) is the currently unidentified distributor and seller
of the Subject Machine (see paragraph 10, infra, which is incorporated by reference),

Jurisdiction and Venue

This Honorable Court has personal jurisdiction over Defendants, as they actively
conducted business in Massachusetts at all times relevant to this action.

This Honorable Court has subject matter jurisdiction pursuant to 28 U.S.C., § 1332
because the Plaintiff and Defendants are citizens of different states and the Plaintiff seeks
damages in excess of $75,000.00.

Venue is proper in this district pursuant to 28 U.S.C., §1391(b)(1) as the Plaintiff resides

in Massachusetts and 28 U.S.C., § 1391(b)(2) because the accident occurred in Holyoke,

Massachusetts.
Facts
Defendant Ermak U.S.A. was the designer, manufacturer, tester, importer, supplier and/or

distributor of a press brake machine and its controls: Type; CNCSAP 12X220; Model:
2007; Machine No.; SN20071136 (hereinafter the “Subject Machine”), acting in the

course of business.
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Defendant Ermaksan was the designer, manufacturer, tester, importer, supplier and/or
distributor of the Subject Machine and its controls, acting in the course of business.
Defendant Lazer was a component designer, manufacturer, and installer, of the safety light
curtain system, and control system, incorporated into the Subject Machine (hereinafter
“the components”) , acting in the course of business.

Defendant Fiessler was a component manufacturer, designer, and installer of the safety
light/laser curtain system, and contro! system, incorporated into the Subject Machine
(hereinafter “the components”), acting in the course of business.

Defendant JDD owned, sold, and/or distributed the Subject Machine.

The Subject Machine, its components and its controls were designed to bend metal
products.

The Subject Machine, its components, and its controls, were designed, manufactured,
tested, sold and installed by the Defendants with pinch points, known by the Defendants to
present a constant risk of injury to the hands and fingers of the operators of the Subject
Machine.

The Subject Machine components, and their controls, were designed to stop the Subject
Machine, when the operator’s hands or body entered the pinch point of the Subject
Machine.

If the Subject Machine components, and their controls, had been reasonably and properly
designed, installed, maintained, and/or operating, the Subject Machine components, and
their controls, would have prevented the Plaintiff's injuries by stopping the Subject
Machine before it crushed and cut the Plaintiff's fingers and hands, causing the

amputation of eight of the Plaintiff's fingers.
20. Before September 29, 2020, Defendant JDD, Defendant Ermak USA, and Ermaksan,

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designed, manufactured, tested, imported, and/or distributed, supplied, and/or sold, the
Subject Machine, its components, and its controls, to International Container Company,
LLC or a related entity.
Before, September 29, 2020, Defendant JOD, Defendant Lazer and/or Defendant Fiessler,
designed, distributed, supplied, tested, imported, installed and/or sold the components, and
their controis, to Defendants Ermaksan and/or Ermak USA and/or International Container
Company, LLC, or a related entity.
On or about September 29, 2020, the Plaintiff, while working in the course of business for
his employer International Container Company, LLC operated the Subject Machine, its
components, and its controls, with due care when the machine injured him.
COUNTI

(Negligence against Ermak USA)
The Plaintiff realleges and repeats each and every allegation contained in paragraphs 1-21
and incorporates each as if fully set forth herein,
This count is for negligence and is brought by the Plaintiff against the Defendant Ermak

USA.

. The Defendant, Ermak USA, was negligent with respect to the design, manufacturing,

testing, inspecting, distributing and selling the Subject Machine, its components, and its
controls, and was negligent with respect to equipping the Subject Machine with
inadequate safeguards, controls, warnings and/or instructions.

As a direct and proximate result of the Defendant, Ermak USA’s negligence, the Plaintiff

sustained severe and permanent physical injury, suffered great pain of body and anguish
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of mind, required extensive hospital and medical care and treatment, incurred medical
expenses, lost time from work, will lose time from work in the future; and his ability to
engage in normal and usual activities has been adversely affected.

WHEREFORE, the Plaintiff, Ivan Laguna, demands judgment against the Defendant
Ermak USA, in an amount sufficient to compensate him for his losses and damages,
together with interest and costs.

COUNT IE

(Breach of Implied Warranty against Ermak USA)
The Plaintiff realleges and repeats each and every allegation contained:in paragraphs 1
through 25 and incorporates each as if fully set forth herein.
This Count is for Breach of Implied Warranty and is brought by the Plaintiff against the
Defendant, Ermak USA.
The Defendant, Ermak USA, impliedly warranted to the Plaintiff that the Subject
Machine, its components, and its controls, were merchantable, safe, and fit for ordinary
purposes. The Defendant, Ermak USA, is a merchant with respect to goods of the kind
involved in the accident. The Subject Machine, component parts, and controls of the
Subject Machine and the product warnings and instructions were defective, and therefore
the Subject Machine was not, in fact, merchantable, safe and fit as warranted by the
Defendant, Ermak USA. The Defendant, Ermak USA, therefore breached these
warranties to the Plaintiff.
As a direct and proximate result of the Defendant, Ermak USA’s breaches of warranties,
the Plaintiff sustained severe and permanent physical injury, suffered great pain of body

and anguish of mind, required extensive hospital and medical care and treatment, incurred
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medical expenses, lost time from work, will lose time from work in the future; and his
ability to engage in normal and usual activities has been adversely affected.

WHEREFORE, the Plaintiff Ivan Laguna, demands judgment against the Defendant
Ermak USA, in an amount sufficient to compensate him for his losses and damages,
together with interest and costs.

COUNT Il
(M.G.L, ch.93A Violation against Ermak USA)

The Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 29 of
this complaint.

Plaintiff was a foreseeable user and operator of the Subject Machine, its components, and
its controls, in the course of business.

The Defendant Ermak USA was a merchant, manufacturer, designer, tester, distributer,
and or retailer of the Subject Machine, its components, and its controls, in the course of
business,

The Defendant Ermak USA put the Subject Machine, its components, and its controls, into
the stream of commerce with the intention to sell to a business such as the Plaintiffs
employer, in the course of business.

The Defendant Ermak USA put the Subject. Machine, its components, and its controls, in
the stream of commerce and implied that is it is safe to be used by employees of
businesses such as the Plaintiff's employer.

The Plaintiff reasonably believed the Subject Machine, its components, and its controls,

were safe to be used in the course of business, and while he was operating the Subject
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Machine, and its controls, the Plaintiff was caused severe injuries and damages due to a
defect in the Subject Machine, and its controls,

The Defendant Ermak USA violated M.G.L. ch. 93A when the Subject Machine, its’
components, and its controls, injured the Plaintiff in the ordinary course of business, and
foreseeable use of the Subject Machine, its components, and its controls.
WHEREFORE, the Plaintiff is entitled to multiple damages and attorneys fees and costs

pursuant to M.G.L. ch. 93A.

COUNTIV
(Negligence against Ermaksan)

The Plaintiff realleges and repeats each and every allegation contained in paragraphs 1-34
and incorporates each as if fully set forth herein.
The count is for negligence and is brought by the Plaintiff against the Defendant,
Ermaksan.
The Defendant, Ermaksan, was negligent with respect to the designing, manufacturing,
testing, inspecting, distributing and selling the Subject Machine, its components, and its
controls, and was negligent with respect to equipping the Subject Machine with
inadequate safeguards, controls, warnings and/or instructions.
As the direct and proximate result of the Defendant, Ermaksan’s negligence, the Plaintiff
sustained severe and permanent physical injury, suffered great pain of body and anguish
of mind, required extensive hospital and medical care and treatment, incurred medical
expenses, lost time from work, will lose time from work in the future; and his ability to

engage in normal and usual activities has been adversely affected.
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WHEREFORE, the Plaintiff Ivan Laguna, demands judgment against the Defendant
Ermaksan, in an amount sufficient to compensate him for his losses and damages, together
with interest and costs.

COUNT V

(Breach of Implied Warranty against Ermaksan)

The Plaintiff realleges and repeats each and every allegation contained in paragraphs 1-38
and incorporates each as if fully set forth herein.
This Count is for Breach of Implied Warranty and is brought by the Plaintiff against the
Defendant Ermaksan.
The Defendant, Ermaksan, impliedly warranted to the Plaintiff that the Subject Machine,
its controls, and its component parts, were merchantable, safe and fit for ordinary
purposes. The Defendant, Ermaksan, is a merchant with respect to the goods of the kind
involved in the accident. The Subject Machine, its controls, and component parts of the
Subject Machine and the product warnings and instructions were defective, and therefore
the product was not, in fact, merchantable, safe and fit as warranted by the Defendant,
Ermaksan, The Defendant, Ermaksan, therefore breached these warranties to the Plaintiff.
As the direct and proximate result of the Defendant, Ermaksan’s breaches of warranties,
the Plaintiff sustained severe and permanent physical injury, suffered great pain of body
and anguish of mind, required extensive hospital and medical care and treatment, incurred
medical expenses, lost time from work, will lose time from work in the future; and his

ability to engage in normal and usual activities has been adversely affected.
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WHEREFORE, the Plaintiff Ivan Laguna, demands judgment against the Defendant
Ermaksan, in an amount sufficient to compensate him for his losses and damages, together
with interest and costs.

COUNT VI
(M.G.L, ch.934 Violation against Ermaksan)
The Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 42

of this complaint.

' The Plaintiff was a foreseeable user and operator of the Subject Machine, and its controls,

in the course of business.

The Defendant Ermaksan was a merchant, manufacturer, designer, tester, distributer, and
or retailer of the Subject Machine, its components, and its controls, in the course of
business.

The Defendant Ermaksan put the Subject Machine, its components, and its controls, into
the stream of commerce with the intention to sell to a business such as the Plaintiff's
employer, in the course of business.

The Defendant Ermaksan put the Subject Machine, its components, and its controls, in
the stream of commerce and implied that is it is safe to be used by employees of
businesses such as the Plaintiff's employer.

The Plaintiff reasonably believed the Subject Machine, its components, and its controls,
were safe to be used in the course of business, and while he was operating the Subject
Machine, its components, and its controls, the Plaintiff was caused severe injuries and

damages due to a defect in the Subject Machine, and its controls.
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The Defendant Ermaksan violated M.G.L. ch. 93A when the Subjéct Machine, its
components, and its controls, injured the Plaintiff in. the ordinary course of business, and
during the foreseeable use of the Subject Machine, and its controls.

WHEREFORE, the Plaintiff is entitled to multiple damages and attorneys’ fees and costs
pursuant to M.G.L. ch, 93A.

COUNT VIE
(Negligence against Lazer)
The Plaintiff realleges and repeats each and.every allegation contained in paragraphs 1-49
and incorporates each as if fully set forth herein.
This count is for negligence and is. brought by the Plaintiff against the Defendant Lazer.
The Defendant, Lazer, was negligent with respect to the designing, inspecting, installing,
testing, maintaining, distributing and selling the Subject Machine components, and their
controls, and was negligent with respect to equipping the Subject Machine with
inadequate light curtain safety devices, controls, safeguards, warnings and/or instructions.
As a direct and proximate result of the Defendant Lazer’s negligence, the Plaintiff
sustained severe and permanent physical injury, suffered great pain of body and anguish
of mind, required extensive hospital and medical care and treatment, incurred medical
expenses, lost time from work, will lose time from work in the future; and his ability to
engage in normal and usual activities has been adversely affected.
WHEREFORE, the Plaintiff, Ivan Laguna, demands judgment against the Defendant

Lazer, in an amount sufficient to compensate him for his losses and damages, together

with interest and costs.

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COUNT VII
(Breach of Implied Warranty against Lazer)

The Plaintiff realleges and repeats each and every allegation contained in paragraphs 1

' through 53 and incorporates each.as if fully set forth herein.

This Count is for Breach of Implied Warranty and is brought by the Plaintiff against the

Defendant, Lazer.

. The Defendant Lazer, impliedly warranted to the Plaintiff that the Subject Machine, its

controls, and its component parts were merchantable; safe, and: fit for ordinary purposes.
The Defendant, Lazer, is a merchant with respect to goods of the kind involved in the
accident. The Subject Machine, its controls, and/or.the component parts of the Subject
Machine, and the product warnings: and instructions were defective, and therefore the
Subject Machine, its components, and its controls, were not, in fact, merchantable, safe
and fit as warranted by the Defendant, Lazer. The Defendant Lazer, therefore, breached
these warranties to the Plaintiff.
As a direct and proximate result of the Defendant, Lazer’s breaches of warranties, the
Plaintiff sustained severe and permanent physical injury, suffered great pain of body and
anguish of mind, required extensive hospital and medical care and treatment, incurred
medical expenses, lost time from work, will lose time from work in the future; and his
ability to engage in normal and usual activities has been adversely affected,
WHEREFORE, the Plaintiff Ivan Laguna, demands judgment against the Defendant
Lazer, m an amount sufficient to compensate him for his losses and damages, together

with interest and costs.

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COUNT IX

(M.G.L. ch.93A Violation against Lazer)
The Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 57
of this complaint.
The Plaintiff was a foreseeable user and operator of the Subject Machine, its components,
and its controls, in the course of business. .
The Defendant Lazer was a merchant, manufacturer, designer; tester, distributer, and or
retailer of the Subject Machine; its components, and its controls, in the course of
business.
The Defendant Lazer put the Subject Machine, its components, and its controls, into the
stream of commerce with the intention to sell to a business such as the Plaintiff's
employer, in the course of business.
The Defendant Lazer put the Subject Machine, its components, and its controls, in the
stream of commerce and implied that is it is safe to be used by employees of businesses
such as the Plaintiff's employer.
The Plaintiff reasonably believed the Subject Machine, its components, and its controls,
were safe to be used in the course of business, and while he was operating the Subject
Machine, its components, and its controls, the Plaintiff was caused severe injuries and
damages due to a defect in the Subject Machine, its components, and its controls.
The Defendant Lazer violated M.G.L. ch. 93A when the Subject Machine, its
components, and its controls, injured the Plaintiff in the ordinary course of business, and

during the foreseeable use of the Subject Machine, its components, and its controls.

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WHEREFORE, the Plaintiff is entitled to multiple damages and attorneys’ fees and costs
pursuant to M.G.L. ch, 93A.
COUNT X
(Negligence against Fiessler)
The Plaintiff realleges and repeats each and every allegation contained in paragraphs 1-64

and incorporates each as if fully set forth herein. .

3. This count is for negligence and is brought by the Plaintiff against the Defendant Fiessler.

The Defendant, Fiessler was negligent with respect to the designing, inspecting,
installing, testing, maintaining, distributing and selling the Subject Machine components,
and was negligent with respect to equipping the Subject Machine with inadequate light
curtain safety devices, safeguards, warnings and/or instructions.

As a direct and proximate result of the Defendant Fiessler’s negligence, the Plaintiff
sustained severe and permanent physical injury, suffered great pain of body and anguish
of mind, required extensive hospital and medical care and treatment, incurred medical
expenses, lost time from work, will lose time from work in the future; and his ability to
engage in normal and usual activities has been adversely affected.

WHEREFORE, the Plaintiff, [van Laguna, demands judgment against the Defendant
Fiessler, in an amount sufficient to compensate him for his losses and damages, together
with interest and costs.

COUNT XI
{Breach of Implied Warranty against Fiessler)
The Plaintiff realleges and repeats each and every allegation contained in paragraphs |

through 68 and incorporates each as if fully set forth herein.

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This Count is for Breach of Implied Warranty and is brought by the Plaintiff against the
Defendant, Fiessler.
The Defendant Fiessler, impliedly warranted to the Plaintiff that the Subject Machine and

its components, and their controls, were merchantable, safe, and fit for ordinary purposes.

. The Defendant, Fiessler, is a merchant with respect to goods of the kind involved in the

accident. The Subject Machine, its components,-and/or its controls, and the product
warnings and instructions were defective, and therefore the Subject Machine, its
components, and its controls, were not, in fact, merchantable, safe and fit as warranted by
the Defendant, Fiessler. The Defendant Fiessler, therefore, breached these warranties to
the Plaintiff.

As a direct and proximate result of the Defendant, Fiessler’s breaches of warranties, the
Plaintiff sustained severe and permanent physical injury, suffered great pain of body and

anguish of mind, required extensive hospital and medical care and treatment, incurred

medical expenses, lost time from work, will lose time from work in the future; and his

ability to engage in normal and usual activities has been adversely affected.
WHEREFORE, the Plaintiff Ivan Laguna, demands judgment against the Defendant
Fiessler, in an amount sufficient to compensate him for his losses and damages, together
with interest and costs,
COUNT XH
(M.G.L. ch.93A Violation against Fiessler)
The Plaintiff repeats and re-alleges the allegations contained in paragraphs 1 through 72

of this complaint.

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The Plaintiff was a foreseeable user and operator of the Subject Machine, its components,
and its controls, in the course of business.
The Defendant Fiessler was a merchant, manufacturer, designer, tester, distributer, and or
retailer of the Subject Machine, its components, and its controls, in the-course of
business.
The Defendant Fiessler put the Subject Machine, its components, and its controls, into the
stream of commerce with the intention to sell-to a business such as the Plaintiff's
employer, in the course of business.  .
The Defendant Fiessler put the Subject Machine, its components, and its controls, in the
stream of commerce and implied that is it is safe to be used by employees of businesses
such as the Plaintiff's employer:
The Plaintiff reasonably believed the Subject Machine, its components, and its controls,
were safe to be used in the course of business, and while he was operating the Subject
Machine, its components, and its controls, the Plaintiff was caused severe injuries and
damages due to a defect in the Subject Machine, its components, and its controls.
The Defendant Fiessler violated M.G.L. ch. 93A when the Subject Machine, its
components, and its controls, injured the Plaintiff in the ordinary course of business, and
during the foreseeable use of the Subject Machine, its components, and its controls.
WHEREFORE, the Plaintiff is entitled to multiple damages and attorneys’ fees and costs
pursuant to M.G.L. ch. 93A.

COUNT XIII -

(Negligence against JDD)

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. The Plaintiff realleges and repeats each and every allegation contained in paragraphs 1-80

and incorporates each as if fully set forth herein,
This count is for negligence and is brought by the Plaintiff against the Defendant JDD.
The Defendant, JDD was negligent with respect to the designing, inspecting, installing,

testing, maintaining, distributing and selling the Subject Machine components, and was

‘negligent with respect to equipping-the Subject Machine with inadequate light curtain
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safety devices, safeguards, warnings and/or instructions. - .

As a direct and proximate result of the Defendant JDD’s negligence, the Plaintiff
sustained severe and permanent physical injury, suffered great pain of body.and anguish
of mind, required extensive hospital and medical care and treatment, incurred medical
expenses, lost time from work, will lose time from: work in the future; and his ability to
engage in normal and usual activities has been adversely affected.

WHEREFORE, the Plaintiff, Ivan Laguna, demands judgment against the Defendant
JDD, in an amount sufficient to compensate him for his losses and damages, together
with interest and costs.

COUNT XI
(Breach of Implied Warranty against JDD)
The Plaintiff realleges and repeats each and every allegation contained in paragraphs 1
through 84 and incorporates each as if fully set forth herein.
This Count is for Breach of Implied Warranty and is brought by the Plaintiff against the
Defendant, JDD.
The Defendant JDD, impliedly warranted to the Plaintiff that the Subject Machine and its

components, and their controls, were merchantable, safe, and fit for ordinary purposes.

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The Defendant, JDD, is a merchant with respect to goods of the kind involved in the
accident. The Subject Machine, its components, and/or its controls, and the product
warnings and instructions were defective, and therefore the Subject Machine, its
components, and its controls, were not, in fact, merchantable, safe and fit as warranted by
the Defendant, JDD, The Defendant JDD, therefore, breached these warranties to the
Plaintiff.
As a direct and proximate result of the Defendant, JDD’s breaches of warranties, the
Plaintiff sustained severe and permanent physical injury, suffered great pain of body and
anguish of mind, required extensive hospital and medical care and treatment, incurred
medical expenses, lost time from work, will lose time from work in the future; and his
ability to engage in normal and usual activities has been adversely affected.-

WHEREFORE, the Plaintiff Ivan Laguna, demands judgment against the Defendant
JDD, in an amount sufficient to compensate him for his losses and damages, together
with interest and costs.

COUNT XII
(M.G.L. ch.93A Violation against JDD)

The Plaintiff repeats and re-alleges the allegations contained in paragraphs | through 88
of this complaint.
The Plaintiff was a foreseeable user and operator of the Subject Machine, its components,
and its controls, in the course of business.
The Defendant JDD was a merchant, manufacturer, designer, tester, distributer, and or
retailer of the Subject Machine, its components, and its controls, in the course of

business.

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The Defendant JDD put the Subject Machine, its components, and its controls, into the
stream of commerce with the intention to sell to a business such as the Plaintiff's
employer, in the course of business.
The Defendant JDD put the Subject Machine, its components, and its controls, in the
stream of commerce and implied that is it is safe to be used by employees of businesses
such as the Plaintiff's employer.
The Plaintiff reasonably believed the Subject Machine, its components, and its controls,
were safe to be used in the course of business, and while he was operating the Subject
Machine, its components, and its controls, the Plaintiff was caused severe injuries and
damages due to a defect in the Subject Machine, its components, and its controls.
The Defendant JDD violated M.G.L. ch, 93A when the Subject Machine, its components,
and its controls, injured the Plaintiff in the ordinary course of business, and during the
foreseeable use of the Subject Machine, its components, and its controls. WHEREFORE,
the Plaintiff is entitled to multiple damages and attorneys’ fees and costs pursuant to
M.GLL. ch, 93A.
COUNT XII

(Margarita Lopez loss of consortium against all Defendants)
Paragraphs 1-95 are adopted by reference,
At all times relevant to this lawsuit, Plaintiff Ivan Laguna was legally married to Plaintiff
Margarita Lopez.
As a direct and proximate result of this incident, involving the actions, and/or omissions

of the Defendants, Ermak USA, Ermaksen, Lazer, Fiessler, and JDD, the Plaintiff

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‘Margarita Lopez, lost the care, comfort, income, society, and consortium of her husband,
Ivan Laguna.

’ WHEREFORE, the Plaintiff Margarita Lopez, demands judgment against all Defendants in

~ an amount sufficient to compensate her for her losses and damages, together with interest and

costs.

THE PLAINTIFF CLAIMS A TRIAL BY JURY AS TO ALL ISSUES

IVAN LAGUNA and
MARGARITA LOPEZ,
By their attorneys,

/s/ Michael J, Mascis

Richard J. Sutlivan, Esq.
BBO# 534085 .
Michael J. Mascis, Esq.
BBO# 541772
SULLIVAN & SULLIVAN, LLP
83 Walnut Street
Wellesley, MA 02481
(781) 263-9400
rsullivan@sullivanllp.com
~ mmascis@sullivanllp.com

Dated: April 7, 2023

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Employee Interview Sheet

Today’s Date: 12} 66/202 Time: [1°00 PI
Name: Ta Lagunts Employer; J? @¢

Home Address: 7 Lincaln St

City; \N. Sec 04 E A,) State: Mi Zip: (3 OS? Phone: UIA- 28Q- @234] ( é.) (p)
Trade: . Position: _ Lebur/
Years Experience: Z2uIQ How long have you been with this company; D2 puceks

Union? Yes _“No
If yes, what union: Local#:
Have you ever had any safety training? ‘Yes _ "No
If yes, what kind: é

‘From whom?
When?
Do you ever have safety meetings? _—-Ves 1” No
If yes, how often? Who conducts the meeting?

What were you working on today?’ "een Lie MA cha f
How long have you been working on that task?  ™~ Since Qo OM
Who directed you to do that work? ELratn : .

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I understand that to the extent permissible by law, my identity as the provider of this statement will be held in con nce,

If I am called to testify in a court proceeding, my identity as the statement giver will be disclosed in accordance w
applicable court rules. The content of this statement and my identity may be disclosed to other federal law enforcement Bee
agencies in accordance with Department of Labor rules and procedures, This statement may be subject to disclosure in
accordance with applicable statute(s) and agency policy.

I have read arid had the opportunity to correct this statement and these facts are true and correct to the best of my
knowledge and belief. Public Law 91-596, Paragraph 17(g) makes it a criminal offense to knowingly make a false
statement of misrepresentation in this statement, ;

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sone een AME SS ATIAMAGA DAS. Kaba She bachive Gia f

The. fut pra! ty the. pletat Ai tect Slt, Sain. de

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U.S. Department of Labor Occupational Safety and Health Administration
, 1441 Main Street
Room 550
Springfield, MA 01103

02/04/2021

International Container Co. LLC
and its successors

110 N Bridge St

Holyoke, MA 01040

Dear Employer:

Enclosed you will find citations for violations of the Occupational Safety and Health Act of 1970 (the Act) which
may have accompanying proposed penalties. Also enclosed is a booklet entitled, “Employer Rights and
Responsibilities Following an OSHA Inspection”, (OSHA 3000-04R) revised 2018, which explains your rights
and responsibilities under the Act, If you have any questions about the enclosed citations and penalties, I would
welcome further discussions in person or by telephone. Please contact me at (413) 785-0123.

You will note on page 6 of the booklet that, for violations which you do not contest, you must (1} notify this
office promptly by letter that you have taken appropriate corrective action within the time set forth on the
citation; and (2) pay any penalties assessed. Please inform me of the abatement steps you have taken and of their
dates together with adequate supporting documentation; ¢.g., drawings or photographs of corrected conditions,
purchase/work orders related to abatement actions, air sampling results, This information will allow us to close
the case.

As indicated on page 3 of the booklet, you may request an informal conference with me during the 15-working-
day notice of contest period. During such an informal conference you may present any evidence or views which
you believe would support an adjustment to the citation or the penalty,

Ifyou are considering a request for an informal conference to discuss any issues related to this Citation and
Notification of Penalty, you must take care to schedule it early enough to allow time to contest after the informal
conference, should you decide to do so, Please keep in mind that a written letter of intent to contest must be
submitted to the Area Director within 15 working days of your receipt of the citation. The running of this contest
period is not interrupted by an informal conference.

If you decide to request an informal conference, please complete the attached notice at the bottom of this letter
and post it next to the Citations as soon as the time, date and the place of the informal conference have been
determined, Be sure to bring to the conference with you any and all supporting documentation of existing
conditions as well as of any abatement steps taken thus far. If conditions warrant, we can enter into an informal
settlement agreement which amicably resolves this matter without litigation or contest. =
Kyh; \ \ L

C
You should be aware that OSHA publishes information.on its inspection and citation activity on the Internet
under tlie provisions of Electronic Freedom of Information Act. The information related to these alleged

_ violations will be posted when our system indicates that you have received this citation, You are encouraged to
- review the information concerning your establishment at www.osha.gov., If you have any y dispute with the
accuracy of the information displayed, please contact this office.

Sincerely,
Digitally signed by Mary £.

Mary E. Hoy it 2021.02.04 121957

' Mary E Hoye
Area Director

Enclosures
U.S. Department of Labor .
Occupational Safety and Health Administration ~ —
1441 Main Street .

Room 550
Springfield, MA 01103

Citation and Notification of Penalty
To: ' Inspection Number: 1496123
International Container Co, LLC / Inspectton Date(s); 10/07/2020-01/20/2021
‘and its successors _ Issuance Date: 02/04/2021
110 N Bridge St,

Holyoke, MA 01040

Inspection Site:
110 N Bridge St,
Holyoke, MA 01040

This Citation and Notification of Penalty (this Citation) describes violations of the Occupational Safety and
_ Health Act of 1970, The penalty(ies) listed herein is (are) based on those violations, You must abate the |
violations referred to in this Citation by the dates listed and pay the penalties proposed, unless within 15 working
days (excluding weekends and Federal holidays) from your receipt of this Citation and Notification of Penalty
you either call to schedule an informal conference (see paragraph below) or you mail a notice of contest to
the U.S. Department of Labor Area Office at the address shown above. Please refer to the enclosed booklet
(OSHA 3000) which outlines your rights and responsibilities and which should be read in conjunction with this
form. Issuance of this Citation does not constitute a finding that a violation ofthe Act has occurred uniess there
is a failure to contest as provided for in the Act or, if contested, unless this Citation is affirmed by the Review
Commission or a court.

Posting ~The law requires that a copy of this Citation and Notification of Penalty be posted immediately in a
prominent place at or near the location of the violation(s) cited herein, or, if it is not practicable because of the
nature of the employer's operations, where it will be readily observable by all affected employees. This Citation
must remain posted until the violation(s) cited herein has (have) been abated, or for 3 working days (excluding
weekends and Federal holidays), whichever is longer. ,

_ Informal Conference - An informal conference is not required, However, if you wish to have such a
conference you tay request one with the Area Director during the 15 working day contest period by calling
(413) 785-0123, During such an informal conference, you may present any evidence or views which you believe
would support an adjustment to the citation(s) and/or penalty(ies),

Citation and Notlfication of Ponalty ' Page | OSHA-2
If you are considering a request for an informal conference to discuss any issues related to this Citation and
Notification of Penalty, you must take care to schedule it early enough to allow time to contest after the informal
conference, should you decide to do so. Please keep in mind that a written letter of intent to contest must be
submitted to the Area Director within 15 working days of your receipt of this Citation, The running of this
contest period is not interrupted by an informal conference.

If you decide to request an informal conference, please complete, remove and post the Notice to Employees next
to this Citation and Notification of Penalty as soon as the time, date, and place of the informal conference have
been determined. Be sure to bring to the conference any and all supporting documentation of existing conditions
as well ag any abatement steps taken thus far. If conditions warrant, we can enter into an informal settlement
agreement which amicably resolves this matter without litigation. or contest.

Right to Contest — You have the right to contest this Citation and Notification of Penalty You may contest
all citation items or only individual items. You may also contest proposed penalties and/or abatement dates
without contesting the underlying violations, Dnlegs you inform the Area Director in writing that you intend
to contest the citation(s) and/or proposed penalty(ies) within 15 working days after receipt, the citation(s)
and the proposed penalty(ies) will become a final. order of the Occupational Safety and Health Review

Commission and mnAY, not be reviewed by any court or agency,

Penalty Payment — Penalties are.due within 15 working days of receipt of this notification unless contested.
(See the enclosed booklet and the additional information provided related to the Debt Collection Act of 1982.)
Make your check or money order payable to “DOL-OSHA”, Please indicate the Inspection Number on the
remittance. You can also make your payment electronically at www.pay.gov, At the top of the pay.gov homepage,
type "OSHA" in the Search field and select Search. From OSHA Penalty Payment Form search result, select
Continue. The direct link is:

htips://Awww.pay.gov/paygow/forms/formInstance.html?2agencyFormld=53090334

You will be required to enter your inspection number when making the paymeni, Payments can be made by .
credit card or Automated Clearing House (ACH) using your banking information. Payments of $25,000 or more
require a Transaction ID, and also roust be paid using ACH. If you require a Transaction ID, please contact the
OSITA Debt Collection Team at (202) 693-2170.

. OSHA does not agree to any restrictions or conditions or endorsements put on any check, money order, or
electronic payment for less than the full amount due, and will process the payments as if these restrictions or
conditions do not exist. So

Notification of Corrective Action — For cach violation which you do not contest, you must provide
abatement certification to the Area Director of the OSHA office issuing the citation and identified above, This
abateincnt ecrtification is to be provided by letter within 10 calendar days after each abatement date. Abatement
certification includes the date and method of abatement, If the citation indicates that the violation was corrected
during the inspection, no abatement certification is required for that item, The abatement certification letter must
be posted at the location where the violation appeared and the corrective action took place or employees must
otherwise be effectively informed about abatement activities. A samaple abatement certification letter is enclosed
with this Citation. In addition, where the citation indicates that abatement documentation is necessary, evidence
of the purchase or repair of equipment, photographs or video, receipts, training records, etc., verifying that -
abatement has occurred is required to be provided to the Area Director.

Employer Diser imination: Unlawful — The law prohibits discrimination by an employer against an

Citation and Notification of Penalty Page 2 OSHA-2
employee for filing a complaint or for exercising any rights under this Act. An employee who believes that
he/she has been discriminated against may file a complaint no later than 30 days after the discrimination
occurred with the U.S. Department of Labor Area Office at the address shown above.

Employer Rights and Responsibilities ~The enclosed booklet (OSHA 3000) outlines additional
employer rights and responsibilities and should be read in conjuriction with this notification.

Notice to Employees - The law gives an employee or his/her representative the opportunity to object to any
abatement date set for 2 violation if he/she believes the date to be unreasonable, The contest must be mailed to
ihe U.S. Department of Labor Area Office at the address shown above and postmarked within 15 working days
(excluding weekends and Federal holidays) of the receipt by the employer of this Citation and Notification of
Penalty. , o

Inspection Activity Data — You should be aware that OSHA publishes information on its inspection and
sitation activity on the Internet under the provisions of the Electronic Freedom of Information Act. The
information related to these alleged violations will be posted when our system indicates that you have received
this citation, You are encouraged to review the information concerning your establishment at www.osha. gov; If
you have any dispute with the accuracy of the information displayéd,-please contact this office.

Citation and Notification of Ponalty Page 3 . OSHA2
U.S. Department of Labor
. Occupational Safety and Health Administration

NOTICE TO EMPLOYEES OF INFORMAL CONFERENCE

An informal conference has been scheduled with OSHA to discuss the citation(s) issued on

02/04/2021, The conference will be held by telephone or at the OSHA office located at 1441

Main Street Room 550 Springfield, MA 01103 on __at

. Employees and/or representatives of employees have a right to attend an

informal conference,

Citation and Notification of Penalty Page 4 OSHA-2
CERTIFICATION OF CORRECTIVE ACTION WORKSHEET

co Inspection Number: 1496123
Company Name: International Container Co, LLC /

Inspection Site; 110 N Bridge St, Holyoke, MA 01040

Issuance Date: 02/04/2021

List the specific method of correction for each item on this citation in this package that does not read “Corrected
During Inspection” and return fo: U.S. Department of Labor — Occupational Safety and Health -
Administration, 1441 Main Street Room 550 Springfield, MA 01103,

Citation Number ____ and Item Number was corrected on
By (Method of Abatement);

Citation Number and Item Number _
By (Method of Abatement):

wes corrected on

Citation Number ___ and Item Number ___ ‘was corrected on .
By (Methed of Abatement):

Citation Number and Item Number __ was corrected on
By (Method of Abatement):

Citation Number _____ and Item Number ___ was corrected on:
By (Method of Abatement):
Citation Number and Item Number was corrected on _

By (Method of Abaternent);

I certify that the information contained in this document is accurate and that the affected employees and their
reptesentatives have been informed of the abatement.

Signature Date

Typed or Printed Name Title

NOTE: 29 USC 666(g} whoever knowingly shakes any false statements, representation or certification in any application, record, plan or
other documents filed or required to be maintained pursuant to the Act shall, upon conviction, be punished by a fine of not more than
£16,000 or by itmprisoninent of not more than 6 months or both.

POSTING: A copy of completed Corrective Action Worksheet should be posted for employee review

Citation and Notification of Penalty ‘Page 5 OSHA-2
U.S. Department of Labor Inspection Number: 1496123

Occupational Safety and Health Administration Inspection Date(s): 10/07/2020 - 01/20/2021
Issuance Date: 02/04/2021

Citation and Notification of Penalty

Company Name: International Container: Co, LLC.
Knspection Site: 110 N Bridge St Holyoke, MA 01040

Citation {Item 1 Type of Violation: Serious

29 CFR 1910, 145(¢)(2)G): Cantion signs wore not used te to watt against potential hazards or o caution against
unsafe practices: Cl

110 N Bridge St. Holyoke, MA. On or about September 29, 2020 the employer had not ensured that caution
signs meeting American National Standard 253,1-1967 were affixed to areas of a hydraulic brake that posed
specific safety and health hazards to operators and other exposed employees. The caution signs affixed to the
front of the brake were worn and not legible and the employer had not removed the defective safety signs and

replaced them with signs that were legible to employees using the machine.

ABATEMENT DOCUMENTATION. REQ UIRED FOR THIS ITEM:

Date By Which Violation Must be Abated: March 03, 2021
Proposed Penalty: a $6,827.00

Ses pages 1 through 4 of this Ctiation and Noiification of Penalty for information on employer and cmplayee rights and responsibilities.

Citatlon and Notification of Penalty , Page 6 . OSHA?
U.S. Department of Labor Inspection Number: 1496 123
Occupational Safety and Health Administration Inspection Date(s): 10/07/2020 - 01/20/2021
Issuance Date: 02/04/2021

Citation and Notification of Penalty

Company Name: International Container Co. LLC
Inspection Site: 110 N Bridge St Holyoke, MA 01040.) -- |

Citation 1 Item 2 Type of Violation: Serious me

29 CFR 1910,147(c)(1): The employer did not establish'a program consisting of an energy control procedure,
‘employee training and periodic inspections to.ensure that before any employee performed arty servicing or
maintenance on a machine or equipment where the unexpected energizing, startup or release of stored energy
could occur and cause injury, the machine or equipment shall be isolated from the energy source and rendered
inoperative: ee so - et .

110 N Bridge St. Holyoke, MA, On or about September 29, 2020 the employer had not established an energy

control procedure which included the following program requirements, The procedures did not include a purpose

of the procedure statement, statements addressing the specific sources of energy with each piece of equipment,

. Statements relating to the specific location of areas to lock to isolate power and the establishment of periodic
inspections for the procedure as required by 1910,147 Appendix A (non-voluntary). -

ABATEMENT DOCUMENTATION REQUIRED FOR THIS TTEM

Date By Which Violation Must be Abated: SO March 03, 2021
Proposed Penalty: | $7,510.00

Seo pages | through 4 of this Citotion snd Notification of Penalty for information on employer aud cnployee righis and responsibliltles,

Citation and Notification of Penalty Page 7 OSHA-2
U.S. Department of Labor Inspection Number: 1496123

Occupational Safety and Health Administration Inspection Date(s): 10/07/2020 - 01/20/2021 .
. Issuance Date: 02/04/2021

Citation and Notification of Penalty

Company Name: International Container Co. LLC -
Inspection Site: 110 N Bridge St Holyoke, MA 01040

Citation 1 Hem 3 ‘Type of Violation: Serious -

29 CPR 1990,212(a)(1): One or more methods of machine guarding was not provided to protect the operator and
other employces in the machine area from hazards such as those created by point of operation, ingoing nip
points, rotating parts, flying chips and sparks:

110 N Bridge &t, Holyoke, MA. On or about September 29,2020 the employer had net provided one ot more
methods of guarding to prevent employees from getting any part of their body into the point of operation of an
Ermak SPA 12 automatic brake machine expositig employees to amputations. .

ABATEMENT DOCUMENTATION REQUIRED FOR THIS TTEM

Date By Which Violation Must be Abated: . March 03, 2021
Proposed Penalty: Se $10,513.00

5

Mary E. Hoye cxcntanac taaun-oson
Mary E Hoye
Area Director

Sco pages 1 through 4 of this Citation and Notification of Penalty for information on elnployer and employee rights and responsibilities,

Citation and Notification of Penalty - Page 8 OSHA-2
U.S. Department of Labor

Occupational Safety and Health Administration
1441 Main Street

Room 550

Springfield, MA.01103

INVOICE /
DEBT COLLECTION NOTICE

Company Name: Laternational Container Co, LLC /
Inspection Site: 110 N Bridge St, , Holyoke, MA 01040
Issuance Date: 02/04/2021 oe

Summary of Penalties for Inspection Number: 1496123

Citation 1 Item 1, Serious . $6,827.00
Citation 1 Itenr 2, Serious ‘ $7,510.00
Citation | Jtem 3, Serious , $10,513.00
TOTAL PROPOSED PENALTIES: $24,850.00

To avoid additional charges, please remit payment promptly to this Area Office for the total amount of the
uncontested penalties summarized above. Make your check or money order payable to: "DOL-OSHA". Please
indicate OSHA's Inspection Number (indicated above) on the remittance, You can also make your payment
electronically ut www.pay.gov. At the top of the pay.gov homepage, type “OSHA” in the Search field and select
Search, From the OSHA Penalty Payment Form search result, select Continue, The direct link is:
https:/Avww,.pay.2ov/paygov/forms/form Instance, him) ?agencyFormld=53090334, You will be required to enter
yout inspection number when making the payment, Payments can be made by credit card or Automated Clearing
House (ACH) using your banking information. Payments of $25,000 or more require a Transaction ID, and also
must be paid using ACH. If you require a Transaction ID, please contact the OSHA Debt Collection Team at
(202) 693-2176,

OSHA does not agree to any restrictions or conditions or endorsements put on any check, money order, or
electronic payment for less than the full amount due, and will cash the check or money order as if these
restrictions or conditions do not exist.

Ifa personal check is issued, it will be converted into an electronic fund transfer (EFT), This means that our
bank will copy your check and use the account information on it io electronically debit your account for the
amount of the check, The debit from your account will then usually occur within 24 hours and will be shown on
your regular account statement, You will not receive yout original. check back, The bank will desiroy your
original check, but will keep a copy of it. If the EFT cannot be completed because of insufficient funds or closed
account, the bank will attempt to make the transfer up to two times.

Citation and Notification of Penalty Page 9 OSHA-2
Purstrant to the Debt Collection Act of 1982 (Public Law 97-365) and regulations ofthe U.S. Department of
 . Labor (29 CER Part 20), the Occupational Safety and Health Administration is required to assess interest,
delinquent, charges, and administrative costs for the collection of delinquent penalty debts for violations of the
Occupational Safety and Health Act. .

' Intewest: Interest charges will be assessed at an annual rate determined by the Secretary of the Treasury on all

penalty debt amounts not paid within one month (30 calendar days) of the date on which the debt amount

' becomes due and payable (penalty due date), The curent interest rate is one percent (1%). Interest will accrue
from the date on’ which the penalty amounts (as proposed or adjusted) become a final order of the Occupational

:. Safety and Health Review Commission (that is, 15 working days from your receipt of the Citation and

- Notification of Penalty), unless you file a notice of contest. Interest t charges will be waived if the full amount
owed i is paid within 30 calendar days of the final order, Do

Delinquent Charges: A debt is considered delinquent ifi it has not been paid within one month (30 calendar

_ days) of the penalty duc date or if a satisfactory payment arrangement has not been made. If the debt remains
delinquent for more than 90 calendar days, a delinquent charge of six percent (6%) per annum will be assessed
accruing from the date that the debt became delinquent. .

' Administratlye Costs; Agencies of the Department of Labor are required to assess additional charges for the
recovery of delinquent debts. These additional charges are administrative costs incurred by the Agency i in its
attempt to collect an unpaid debt. Administer ative vosts will be assessed for demand letters sent in an attempt to

collect the unpaid debt,

Mary E. Hoye! otsitieridive-cty . envo22021
’ Mary # Hoye , ' Date
Area Director .

Citation and Noiification of Penalty oe Page 10 OSHA-2
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DiNatale

20 McKenna Terrace. Suite 301 DETECTIVE _ , AGENCY All Types of Investigations

West Roxbury, MA 02132
John P. DiNatale

Richard H. DiNatale

Phillip J. DiNatale (1919-1987)
Evelyn M. DiNatale (1922-1983)

Tel. (617) 553-8244
Fax (617) 553-8246
office@dinatale-detective.com

www.dinatale- ive.com Karen Nasson (1963-2010)
TO: Attorneys Richard Sullivan & Mike Mascis
FROM: Richard H. DiNatale
DATE: November 1, 2022
RE: Ivan Laguna

On 10/28/22, the brake press machine was photographed at International Container Co,
110 N Bridge Street, Holyoke, MA during an inspection by Bob Holt. The photos have
been uploaded to Dropbox and shared with your office. Hardcopies of the photos were

printed and mailed to Bob Holt per his request.

This table was not present at the time of Ivan's accident i

Photo of the subject machine. Note: the table in front of the press brake is used to load
large metal sheets into the machine. The table was not present at the time of the

accident. Bh Li L
Cc

—
Attorneys Richard Sullivan & Mike Mascis
Ivan Laguna — Page 2
November 1, 2022

The subject machine is an Ermak CNC SAP 12 x 220, manufactured in Turkey in 2007.

TYPE
MODEL
~ MACHINE Nr.

Plaque on the machine which includes its serial number, SN20071136.

The client was present for a portion of the inspection. He indicated the foot pedals (used
to operate the machine) present during the inspection were different than the pedals
used at the time of his accident. Laguna further stated the table in front of the machine
that can be seen in many of the photos was also not present or near the machine at the

time of his accident.

As can be seen in the photo above, the machine also had several decals for AJ

Machinery Company Inc. Internet searches indicate AJ Machinery Company Inc. was
Attorneys Richard Sullivan & Mike Mascis
Ivan Laguna — Page 3
November 1, 2022

formerly incorporated in Minnesota but is now dissolved (since 2014). It is unconfirmed
at this time if AJ Machinery Co. Inc. was the original vendor of the machine. The two
brothers from International Container Co. who were present during the inspection
recalled that they purchased the subject press brake second-hand from a shop on Cape
Cod, but they could not recall when or where.

Please advise if there is anything further.

Laguna-226-22#3.docx
BILL OF SALE AND ASSIGNMENT #26

Cape Cod Fabrications, Inc.; a Massachusetts corporation with a business address of 120
Bernard St. Jean Drive, East Falmouth, Massachusetts 02536 (“Seller”), in consideration of
$65.000.00 receipt of which is hereby acknowledged, does hereby sell, convey, transfer, assign and
set over to International Container Co. ‘LEE (“Purchaser”), all of Seller’s right, title and
interest in and to the equipment and items listed on Schedule 1 attached hereto and made a part

hereof (collectively, the “Equipment”). .

Seller represents and warrants to Purchaser that Seller is the absolute owner of the Equipment, that —
the Equipment is conveyed free and clear of all liens, charges and encumbrances, and that Seller has
full right. power and authority to sell said Equipment and to make this Bill of Sale and Assi gnment.
Secured Party hereby releases its security interest in and to the Personal Property described in the
Bill of Sale annexed hereto as Schedule 1, The security interest of Secured Party continues in all
other personal property of Debtor.

All materials and equipment are being sold “As Is”. All sales are final, no returns ot
refunds.

=
t

IN WITNESS WHEREOF, Seller has executed this Bill of Sale and Assionment under seal
as of they $day of March, 2012,

Cape Cod Fabrications, Inc.

I

Name: Richard A. Corner a
* Title: Owner
“Aan, S Cashier's Check
PeoplesUnited
Bank peterence got Ermace C0 (2' pay, 03/80/2012 1270463
hice Brake. 46604-A236020

SReRKEKESS, COD. OOexeeee

SPXTY FIVE THOUSAND SOLLARS AND ZERO GENTS

*COMMUNITY BANK»

To the -
Order of -
' mac BOE 12! e Sys | aiehs
CASHIER'S CHECK 420 Emac ds 2 wr Cre och CL if
_ Notice : Smtoseny The ores a indemnity Sy Se if Wres7/y Authorized Signature \ aii ee been [—

or refunded in the event itis lost, misplaced or stolen.

MP APOLR A wai aaiaee wannananen
Schedule 1 to Bill of Sale and Assignment me

List of Equipment .

Description of Equipment Serial No, Value

1 2007 Ermac CNC SAP 220 12! Press Braké 220 Ton Capacity @ $65,000.00
Gi (Si 2007 :

SubTotal fA “Bh $ 65,000.00

MA Sales Tax @ 6.25% mo $ OO

Grand Total oo $6 5000.00

All materials and equipment are being sold “As Is”. All sales are final, no returns or
refunds.

Check# ZIIOF 65

LIB 2504793.2
mmascis@sullivanllp.com

From: Ken Searles <ksearles@internationalcontainerco.com>

Sent: Tuesday, July 30, 2019 11:10 AM

To: s.rodoplu@ermakusa.com; h.telci@ermakusa.com; i.karakaya@ermakusa.com;
ufuk.kocael@ermakusa.com

Cc: Cwilson; mmenard@internationalcontainerco.com

Subject: Ermaksan Press Brake

Attachments: IMG_0835,pg; IMG_0836.jpg; IMG_0837,jpg

Hi Ufuk, the corrupt file doesn't come on all the time and has gone away now. Now the rear gate open is on which is
normal upon start up. But once you press the test button it clicks a relay on and the gate open message goes away and
allows the machine to start up. We don't hear that relay clicking on anymore. I'm not sure which relay it is. This leads us
to believe its a problem with the lazer guard in the rear. Please let me know your thoughts and where to begin.

Thank you very much for your quick response, Kenneth Searles

From: "Ken Searles" <ksearles@internationalcontainerco.com>
Sent: Tuesday, July 30, 2019 11:00am

To: "Ksearles" <ksearles@internationalcontainerco.com>
Subject: ,

Sent from my iPhone

Eh ihi k
mmascis@sullivanllp.com

From: SENOL RODOPLU <s.rodoplu@ermakusa.com>

Sent: Tuesday, October 15, 2019 1:02 PM

To: Ken Searles; HULYA YILMAZ

Cc: SERVICE; mmenard @internationalcontainerco.com;
cwilson@internationalcontainerco.com; Joseph Searles; ILKER KARAKAYA

Subject: Re: Ermaksan Press Brake

Hi Ken,

| was able to receive quotation for light guard compatible with your machine with programs loaded into it so you can
simply install it on and start working with your machine.

It's cost is $8,750 for part and $800 for programming, total is coming out to $9,550 plus shipping.

Our spare part department is also trying to find another solution which would be cost effective parts for your machine
which can be used instead.

As soon as they came up with other solution as an option | will let you know but for now | wanted to submit first option if
you wanted to go with it without waiting.

Please let us know.

Senol Rodoplu

VP of Sales
ERMAKUSA

Cell: +1 630-512-7604

“Exellence in Fab Equipment Sales and Service”

On 10/10/19, 12:48 PM, "Ken Searles" <ksearles@internationalcontainerco.com> wrote:
Hi Senol, do you have any update on my Ermaksan press brake? My boss is very anxious right now.

Thank you,

Ken Searles

International Container Co., LLC
(413) 538-9200
www.internationalcontainerco.com

From: "Ken Searles" <ksearles@internationalcontainerco.com>

Sent: Wednesday, October 9, 2019 1:22pm

To: s.rodoplu@ermakusa.com, service@ermaksan.com.tr

Cc; "mmenard @internationalcontainerco.com" <mmenard@internationalcontainerco.com>,

"cwilson@internationalcontainerco.com" <cwilson@internationalcontainerco.com>, "Joseph Searles" E
se + m — .
<jsearles@internationalcontainerco.com> “hii 1
Subject: FW: Ermaksan Press Brake L4
Hi Senol, here is the information you asked for.
The error code on the lazersafe module inside the cabinet on ( channel 1 is 2209 ) & on ( channel 2 is A201 )

Machine Information.
Year: 2007

Model: CNCSAP 12 x 220
SER #: SN20071136
TON: 220

CONTROL
DELEM

TYPE: DA-66WE
SER #: 29374

Please let me know the quickest way to handle this. We've been inoperable for three weeks now and NEED to be back
up running asap.

Thank you,

Ken Searles

International Container Co.

0:413-538-9200

C:413-478-5998

Sent from my iPhone
Case: 1:21-cv-02391 Document #: 1 Filed: 05/04/21 Page 1 of 20 PagelD #:1

IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF ILLINOIS

EASTERN DIVISION

ERMAK USA, INC., )

an Illinois Corporation, )

)

Plaintiff, )

)

Vv. ) Case No.:

)

NANTONG JUGAO MACHINERY CO., LTD )
d/b/a ERMAK CNC MACHINE (NANTONG) ) JURY TRIAL DEMAND

CO., LTD, a Chinese Corporation, )

)

Defendant.

COMPLAINT

Plaintiff, ERMAK USA, INC. (“Ermak USA” or “Plaintiff’), by and through undersigned
counsel, for its complaint against Defendant NANTONG JUGAO MACHINERY CO., LTD
d/b/a ERMAK CNC MACHINE (NANTONG) CO., LTD (“Defendant”), and alleges the

following:

NATURE OF ACTION

1. This is an action for trademark infringement and counterfeiting, false designation
of origin, passing off, usage of counterfeit mark, and dilution under the Lanham Act, 15 U.S.C.
§§ 1114, 1125(a), 1125(c); deceptive trade practices under 815 ILCS § 510 of the Illinois
Uniform Deceptive Trade Practices Act; trademark dilution under 765 ILCS § 1036/65 of the
Illinois Trademark Registration and Protection Act; and trademark infringement and unfair

competition under the common law of the State of Illinois, whereby Plaintiff is seeking an

Fak

heb
Case: 1:21-cv-02391 Document #: 1 Filed: 05/04/21 Page 2 of 20 PagelD #:2

injunction against the illegal infringement activities of Defendant, in addition to monetary

damages and treble damages as allowed under the Lanham Act.

PARTIES
2. Plaintiff is an Illinois corporation with a principal place of business at 2860 River
Rd., Suite 145, Des Plaines, [linois 60018.
3. Defendant is a Chinese Corporation, with a principal place of business at No. 98,

Renmin East Road, Xichang Town, Hai'an County, Nantong City, Jiangsu Province, China.

JURISDICTION AND VENUE

4, As this action relates to trademark infringement, this Court has original subject
matter jurisdiction over this action under 15 U.S.C. §1121(a) and under 28 U.S.C, $1338{a).

5. As this case relates to unfair competition and deceptive trade practices that are
joined with and substantially related to the trademark infringement action, this Court also has
original jurisdiction over these claims under 28 U.S.C. §1338(b).

6. This Court also has jurisdiction pursuant to 28 U.S.C. §1332(a) because Plaintiff
is an Illinois corporation conducting business in Hlinois while Defendant is a citizen of a foreign
country, and the amount in controversy exceeds the sum or value of $75,000, exclusive of

interest and costs.

7. This Court has supplemental jurisdiction over all state law claims under 28 U.S.C.
§1367(a).
8, This Court has personal jurisdiction over Defendant, as it is a foreign corporation

that transacts business in Illinois and around the United States. Defendant is reaching out to do
business in Illinois by operating its website and third-party websites through which Illinois and

United States residents can inquire and purchase products.
Case: 1:21-cv-02391 Document #: 1 Filed: 05/04/21 Page 3 of 20 PagelD #:3

9, . Venue is proper in this District under 28 U.S.C. §§ 1391(c) in that Defendant is a

non-resident in the United States that may be sued in any judicial district.

FACTUAL BACKGROUND

10;. Plaintiff currently owns and operates a corporation in Illinois where it imports,
sells and services Ermak / Ermaksan branded machines. -

11. Plaintiff is a foreign affiliate of ErmakSan Makina Sanayi Ve Ticaret
Anonimsirketi (“ErmakSan Turkey”), a Turkish corporation with a principal place of business at
Isikiepe, Lacivert Cd. No: 6, 16065 Isiktepe Organize Sanayi Bélgesi/Niliifer/Bursa, Turkey.

12... ErmakSan Turkey was: formed in 1965 and has been using the Ermak and
Ermaksan trademarks worldwide since then.

13. Prior to the formation of Ermak USA, ErmakSan Turkey made sales in the United
States from 2004 until Plaintiff was' established in Illinois to oversee its operations and sales
throughout the United States. :

14. _— Plaintiff is the owner by assignment of the entire rights, title, and interest,
including the right to sue for infringement, of United States Trademark Registration No.
4,073,282 on the Principal Register for the word mark “ERMAK USA” for “metal working
machines.” The priority date of this registration is February 28, 2011. A true and correct copy of
the registration is attached as Exhibit A.

15. The “ERMAK USA” word mark has been in continuous use since Plaintiff's first
incorporation in September 22, 2010,

16, The “ERMAK USA” word mark was registered on December 20, 2011 to the

Principal Register, and thus the registration is incontestable under the provisions of 15 U.S.C.
Case: 1:21-cv-02391 Document #: 1 Filed: 05/04/21 Page 4 of 20 PagelD #:4

§1065 in that Section 8 and 15 Affidavits were timely filed with the United States Patent and
Trademark Office (“USPTO”).

17. Plaintiff is the owner, pending registration of the trademark application Serial No.
90,497,147 by the USPTO, on the Principal Register for the word mark “ERMAK” for “metal
working machines.” The priority date of this registration is January 29, 2021, The ERMAK word
mark has been in use since January 26, 2011, and in commercial use since January 26, 2011.

18. Plaintiff is the owner, pending registration of the trademark application Serial No.
90,501,159 by the USPTO, of the Principal Register for the design mark consisting of a “narrow
inveried triangle followed by the stylized word, ‘ERMAK’, with all letters capitalized”, for use
in accordance with “metal working machines.” The priority date of this registration is February
1, 2021. The ERMAK design mark has been in use by ErmakSan Turkey since 2004 prior to the
incorporation of Ermak USA in 2010,

19. Images of the “ERMAK USA” word mark and the “ERMAK” word mark and
design mark are detailed in the chart below (hereinafter collectively referred to as “Plaintiff's

Marks”).

Trademark No. Trademark

Registered Trademark No.

4,073,282 Ermak USA

Word Mark

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Pending Trademark

Serial No. 90,497,147 Ermak

Pending Trademark
Serial No. 90,501,159
Design Mark

RMAN

20. —_‘In addition to the above listed trademarks, Plaintiff is currently the owner of four
other trademarks, which have been in commercial use since 2011 but are all pending with the
USPTO.

21. Plaintiff has expended significant sums of money to promote and advertise its
business under its trademarks.

22. More specifically, Plaintiff has advertised and used its trademarks in physical and
online advertisements.

Defendant’s Intringing Conduct

23. Defendant advertises, promotes, sells, and offers to sell metal working machinery
by using Plaintiffs Marks.

24. Upon information and belief, Defendant previously advertised its goods as Jugao
Machinery and placed the Jugao Machinery name attached to its products.

25, Soon after, upon information and belief, Defendant willfully, intentionally, and
maliciously, and in conscious disregard of Plaintiff's rights, and in furtherance of Defendant’s

pecuniary interest, attached Plaintiff’s Marks on its products and advertised it as such.

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Dated May 4, 2021

Respectfully submitted,

/s/ Sam Osborne

Sam Osborne

State Bar No. 6324443

Atom Law Group, L.L.C.

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Chicago, Illinois

(312) 943 8000 Phone

(312) 943 4984 Facsimile
ATTORNEY FOR PLAINTIFF

ERMAKSAN MAK. SAN.TIC. AS v. PPA MEDIA..., 2013 WL 3788469...

2013 WL 3788469 (UDRP-ARB Dec.)
ERMAKSAN MAK. SAN.TIC. AS v. PPA MEDIA SERVICES, RYAN G FOO
WIPO Arbitration and Mediation Center
ADMINISTRATIVE PANEL DECISION
ERMAKSAN MAK. SAN.TIC. AS v. PPA MEDIA SERVICES, RYAN G FOO

Case No. D2013-0801
*] Doman Name: ermaksan.com
Case Type: Domain Name
Award Amount: Equitable
*5 Award Date: July 10, 2013
Arbitrator: Warwick A. Rothnie
1. The Parties
The Complainant is Ermaksan Mak. San.Tic. AS of Bursa, Turkey, internally represented.
The Respondent is PPA Media Services, Ryan G Foo of Santiago, Chile.
2. The Domain Name and Registrar
The disputed domain name <ermaksan.com> is registered with Internet.bs Corp. (the 'Registrar').
3. Procedural History
The Complaint was filed with the WIPO Arbitration and Mediation Center (the 'Center') on May 6, 2013. On May 6, 2013, the
Center transmitted by email to the Registrar a request for registrar verification in connection with the disputed domain name.
On May 10, 2013, the Registrar transmitted by email to the Center its verification response:

(a)confirming it is the Registrar for the disputed domain name;

(b) disclosing registrant and contact information for the disputed domain name which differed from the named Respondent and
contact information in the Complaint;

(c) indicating the disputed domain name was first registered on October 15, 2005;
(d) confirming the language of the registration agreement is English; and

(e) confirming the disputed domain name was registered subject to the Uniform Domain Name Dispute Resolution Policy (the
'Policy' or 'UDRP'), and the UDRP applies to the disputed domain name.

The Center sent an email communication to the Complainant on May 24, 2013, providing the registrant and contact information
disclosed by the Registrar, and inviting the Complainant to submit an amendment to the Complaint. In the same email
communication, the Center also requested the Complainant to amend the Complaint, namely paragraphs relating to the

ERMAKSAN MAK, SAN.TIC. AS v. PPA MEDIA..., 2013 WL 3788469...

identification of the correct Registrar, and describe the grounds on which it is made, as required by Policy, paragraph 4 and Rules,
paragraph 3. The Complainant filed an amended Complaint on May 27 and a second amended Complaint on May 28, 2013.

The Center verified that the Complaint together with the amended Complaints satisfied the formal requirements of the
Uniform Domain Name Dispute Resolution Policy (the 'Policy' or 'UDRP"), the Rules for Uniform Domain Name Dispute
Resolution Policy (the 'Rules'}, and the WIPO Supplemental Rules for Uniform Domain Name Dispute Resolution Policy (the
‘Supplemental Rules’).

In accordance with the Rules, paragraphs 2(a) and 4(a), the Center formally notified the Respondent of the Complaint, and the
proceedings commenced on May 29, 2013. In accordance with the Rules, paragraph 5(a), the due date for Response was June 18,
2013. The Respondent did not submit any response. Accordingly, the Center notified the Respondent's default on June 19, 2013.

*2 The Center appointed Warwick A. Rothnie as the sole panelist in this matter on June 26, 2013. The Panel finds that it was
properly constituted. The Panel has submitted the Statement of Acceptance and Declaration of Impartiality and Independence,
as required by the Center to ensure compliance with the Rules, paragraph 7.

4, Factual Background

The Complainant is a manufacturer of sheet metal fabricating equipment such as laser tools and systems, rod cropping, electrodes
for plasma cutting, press brakes, punch presses, iron workers and engraving systems. ,

It started business in Turkey in 1965 producing textile and leather fabricating machines, generators and electric motors. Its
business developed and expanded into sheet metal fabricating machines in 1980. It now exports its products to over 70 countries
around the world including countries in the Americas including, through an agency, Chile.

The Complainant's business operates under the brand name ERMAKSAN. It has registered trademarks for ERMAKSAN
including United States trademark No. 3,291,159 registered on September 11, 2007 and International trademark No. 888322
registered on March 16, 2006, both for a range of goods in International Class 7.

According to the Complaint, 'ermaksan' is an invented word, being a combination of syllables for the Turkish words for 'name',
‘machine’ and ‘industry’.

The disputed domain name resolves to a website which consists of a number of links to suppliers of equipment or services in
the sheet metal fabrication field such as 'CNC Cutting Machine’, ‘Laser Marking Machines’, 'Cutting Equipment’, ‘Hydraulic
Press Machine’ and ‘Sheet Meta! Machinery’. There are also a number of links to specific brands or manufacturers. None of
these appear to be ERMAKSAN brand machinery or services.

5. Discussion and Findings

Paragraph 4(a) of the Policy provides that in order to divest the Respondent of the disputed domain name, the Complainant
must demonstrate each of the following: :

(i) the disputed domain name is identical or confusingly similar to a trademark or service mark in which the Complainant has
rights; and

(ii) the Respondent has no rights or legitimate interests in respect of the disputed domain name; and

Gii) the disputed domain name has been registered and is being used in bad faith.

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ERMAKSAN MAK. SAN.TIC. AS v. PPA MEDIA...; 2013 WL 3788469...

No response has been filed. The Complaint (in its second amended form) has been served, however, on the physical and
electronic coordinates confirmed as correct by the Registrar. Accordingly, the Panel finds that the Complaint has been properly
served on the Respondent.

When a respondent has defaulted, paragraph 14(a)} of the Rules requires the Panel to decide on the Complaint in the absence of
exceptional circumstances. Accordingly, paragraph 15(a) of the Rules requires the Panel to decide the dispute on the basis of
the statements and documents that have been submitted and in accordance with the Policy, Rules and any rules and principles
of law deemed applicable,

*3. A. Identical or Confusingly Similar

The first element that the Complainant must establish is that the disputed domain name is identical with, or confusingly similar
to, the Complainant's trademark rights.

There are two parts to this inquiry: the Complainant must demonstrate that it has rights in a trademark and, if so, the disputed
domain name must be shown to be identical or confusingly similar to the trademark.

The Complainant has proven ownership of the registered trademarks referred to in section 4 above.

On the question of identity or confusing similarity, what is required is simply a comparison and assessment of the disputed
domain name itself to the Complainant's proved trademarks: see for example, Disney Enterprises, Inc. v. John Zuccarini,
Cupcake City and Cupcake Patrol, WIPO Case No, D2001-0489; IK B Deutsche Industriebank AG v. Bob Larkin, WIPO Case
No. D2002-0420, This is different to the question under trademark law which can require an assessment of the nature of the
g00ds or services protected and those for which any impugned use is involved, geographical location or timing. Such matters,
if relevant, may fall for consideration under the other elements of the Policy.

In the present circumstances it is permissible to disregard the ‘com’ component of the disputed domain name as a functional
aspect of the domain name system: fe/stra Corporation Limited v. Ozurls, WIPO Case No. D2001-0046, Ticketmaster
Corporation v. DiscoverNet Inc., WIPO Case No. D2001-0252,

Accordingly, the Panel finds that the Complainant has established that the disputed domain name is identical to the Complainant's
trademarks and the requirement under the first limb of the Policy is satisfied.

B. Rights or Legitimate Interests

The second requirement the Complainant must prove is that the Respondent has no rights or legitimate interests in the disputed
domain name.

Paragraph 4(c) of the Policy provides that the following circumstances may be situations in which a respondent has rights or
legitimate interests in a domain name:

(i) before any notice to you of the dispute, your use of, or demonstrable preparations to use, the domain name or a name
corresponding to the domain name in connection with a bona fide offering of goods ar services; or

(ii) you (as an individual, business, or other organization) have been commonly known by the domain name, even if you have
acquired no trademark or service mark rights; or

(iii) you are making a legitimate noncommercial or fair use of the domain name,-without intent for commercial gain to
misleadingly divert consumers or to tarnish the trademark or service mark at issue.

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ERMAKSAN MAK, SANLTIC. AS v. PPA MEDIA.,., 2013 WI. 3786469...

As is well established now, these are illustrative only and are not an exhaustive listing of the situations in which a respondent
can show rights or legitimate interests in a domain name.

Further, the onus of proving this requirement, like cach element, falls on the Complainant. Panels have recognized the difficulties
inherent in disproving a negative, however, especially in circumstances where much of the relevant information is in, or likely to
be in, the possession of the respondent. Accordingly, it is usually sufficient for a complainant to raise a prima facie case against
the respondent under this head and an evidential burden will shift to the respondent to rebut that prima facie case. See, ¢.g.,
WIPO Overview of WIPO Panel Views on Selected UDRP Questions, Second Edition ("WIPO Overview 2.0"), paragraph 2.1.

*4 The Complainant states that it has not authorized the Respondent to use the trademark, ERMAKSAN. Nor is it in any other
way associated with the Respondent. Further, the disputed domain name is plainly not derived from the Respondent's name or
that of the individual apparently associated with the Respondent. In addition, it appears that the disputed domain name is being
used to generate pay-per-click revenue through advertisements for brands that compete with the Complainant's business.

These factors raise a clear prima facie case that the Respondent does not have rights or legitimate interests in the disputed
domain name. The Respondent has not sought to rebut that prina facie case,

The Respondent appears to have an address in Chile. The Complaint does not include evidence that the Complainant has a
registered trademark for ERMAKSAN in Chile. That is not necessarily fatal to the Complaint in this case. First, the Respondent
has not sought to assert some right or justification to ERMAKSAN under Chilean law, Secondly, the website to which the
disputed domain name resolves at the time of preparing this Decision is not restricted just to business in Chile. For example, the
page generated at the time this Decision was being prepared is entirely in English. The links on the page advertise businesses
operating in various countries such as Australia and the United States of America and seek to generate custom from those
countries as well as, in some cases, Latin America. Moreover, the distinctive component of the disputed domain name consists
of (what so far as the Panel can ascertain) an invented or coined term which has significance only by reason of its association
with the Complainant's business, UDRP panels have repeatedly held that the adoption of such a name to generate revenue from
click-through advertisements for businesses that are not associated with the Complainant's trademark does not constitute a bona
Jide offering of goods or services for the purposes of the Policy.

The registered trademarks proved by the Complainant date from March 16, 2006, which is after the date the disputed domain
name was first registered. The Registrar has not confirmed whether the disputed domain name was first registered to the
Respondent or the Respondent acquired the registration at some later date. However, the Complainant has demonstrated that
it was using ERMAKSAN long before the date it registered its trademarks and, further, before the disputed domain name was
first registered. As it appears that ‘ermaksan’ is apparently an invented or coined term, having significance only as a source
identifier for the Complainant's goods, it appears that the Respondent adopted the disputed domain name with full knowledge
of the Complainant and its business.

Accordingly, the Panel finds that the Complainant has established that the Respondent does not have rights or legitimate interests
in the disputed domain name under the Policy.

C. Registered and Used in Bad Faith

Under the third requirement of the Policy, the Complainant must establish that the disputed domain name has been both
registered and is being used in bad faith by the Respondent.

For the reasons discussed in sub-section 5B above, it appears likely that the Respondent registered the disputed domain name
with knowledge of the Complainant and its business and has sought to generate revenues from the disputed domain name

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ERMAKSAN MAK. SAN.TIC. AS v. PPA MEDIA..., 2013 WL 3788469...

because of its significance as an identifier of the Complainant's products. These activities fall clearly within paragraph 4(b)
(iv) of the Policy:

{iv) by using the domain name, you have intentionally attempted to attract, for commercial gain, Internet users to your web
site or other on-line location, by creating a likelihood of confusion with the complainant's mark as to the source, sponsorship,
affiliation, or endorsement of your web site or location or of a product or service on your web site or location.

Accordingly, the Panel finds that the Respondent has both registered and is using the disputed domain name in bad faith.

6. Decision

For the foregoing reasons, in accordance with paragraphs 4(i) of the Policy and 15 of the Rules, the Panel orders that the disputed
domain name < ermaksan.com> be transferred to the Complainant.

Date: July 10, 2013
Arbitrator: Warwick A. Rothnie

Sole Panelist
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Publication Date: January 11, 2022
DAMAGES — LOSS OF CONSORTIUM
Loss of Consortium — Spouse

In addition to PLF's claim, PLF’s spouse, SPSE, also seeks damages for loss of
his/her right to enjoy PLF’s company, companionship and affection as a part
of the marriage relationship. We call this a claim for loss of consortium."

SPSE can recover for loss of consortium only if you find that DFT's
negligence caused injury to PLF. In addition, SPSE must prove that PLF's
injury caused harm to the marital relationship.

[</f The Fact Of Loss Of Consortium Is Contested> To prove harm to the
marriage relationship, PLF must prove that DFT’s negligence caused some
loss of the full enjoyment of the marriage. That may include any loss of
right to enjoy the company, companionship and affection [including sexual
relations] between the spouses, any loss of comfort or moral support any
restrictions on the couple's social or recreational life, any loss of services
that SPSE would have provided or any other harm to full enjoyment of the
marriage. If you find that as a result of DFT's negligence, SPSE suffered a
loss of consortium, you should answer “yes” to question _. If not, then
answer “no."]

</n all cases.> Question __ asks: “What total amount of money will fully and
fairly compensate SPSE for loss of consortium?” To answer this question,
you should determine how the marriage relationship changed because of
PLF’s injury. In awarding damages for loss of consortium, you may consider
what amount of money will fairly and reasonably compensate SPSE for:

o loss of company and companionship;

o loss of comfort, and moral support;

' See Feltch v. General Rental Co., 383 Mass. 603, 607-609 (1981); Diazv. El Lilly & Co., 364 i
Mass. 153, 160 (1973); Mouradian v. General Elec. Co., 23 Mass. App. Ct. 538, 544 (1987). Baik: E
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